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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND

        CHAMBERS OF                                                           101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
                                                                          MDD_SAGchambers@mdd.uscourts.gov




                                                         September 14, 2021



  LETTER TO PLAINTIFF AND COUNSEL

          Re: Carrasco v. M&T Bank,
              Civil Case No. SAG-21-532

  Dear Mr. Carrasco and Counsel:

          The purpose of this letter is to provide context as to the status of this case. Each judge in
  the United States District Court for the District of Maryland has hundreds of active civil cases, in
  addition to a full docket of criminal cases. Like this case, each one of those hundreds of cases is
  of immense importance to the litigants. Given the large number of pending motions on a judge’s
  docket at any given time, disposition of even a single motion often takes weeks or months. It takes
  significant time to review each motion, opposition, and reply carefully, to research the applicable
  law to ensure a correct decision, and to explain the decision in writing. Each judge must determine
  a system for adjudicating the motions on the docket in an efficient manner. This Court’s standard
  practice, which it will employ in this case as it does in its other cases, is to wait until every motion
  on the docket in a particular case is fully ripe before adjudicating those motions. Fully ripe means
  that a motion, opposition, and reply have been filed, or that the time for such filings has expired.
  Under the civil rules, it takes several weeks for each motion to ripen.

         In the instant case, there are currently eleven motions pending on the docket. While some
  of those motions are now ready for disposition, seven of them have just been filed in this past
  week. The Court will wait for each of those motions to ripen before addressing this case, as
  addressing all pending motions in a single case collectively allows for the most efficient use of
  this Court’s limited time. If additional motions are filed before the existing motions ripen, this
  Court will continue to wait until the docket in this case is ready for disposition of all pending
  motions.

          This Court notes that one of the motions pending yesterday was captioned as an
  “emergency motion.” Emergency motions are designed to use where a party faces imminent and
  irreparable harm, such as when title to real property is in dispute and a sale is pending that will
  permanently impair the rights of one party to obtain title through the litigation. The motion
  pending in this case does not qualify as an emergency motion and will be adjudicated on the
  standard motions briefing schedule, along with the other ten pending motions.
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         Finally, four items have been docketed as “notices” in the past twenty- four hours. Two of
the filings do not even contain case captions. Such filings are improper. This Court is instructing
the Clerk’s office to mark the four notices, ECF 109, 110, 111, 113, “filed in error.”

       Despite the informal nature of this letter, it is an Order of the Court and will be docketed
as such.

                                                     Sincerely yours,

                                                            /s/

                                                     Stephanie A. Gallagher
                                                     United States District Judge
